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                               EXHIBIT A
     To Plaintiff Barry Levine’s Motion for Acceptance and Entry of
        Judgment and Notice of Acceptance of Offer of Judgment


        Defendant American Mensa, Ltd.’s OFFER OF JUDGMENT
                         to Plaintiff Barry Levine
                           dated May 12, 2022




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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

BARRY LEVINE                                      §
          Plaintiff,                              §
                                                  §
v.                                                §   Civil Action No. 4:20-cv-01128-O
                                                  §
AMERICAN MENSA, LTD. AND JOHN                     §
JOHN DOES 1-5                                     §
             Defendants                           §

                                    OFFER OF JUDGMENT


TO:    Plaintiff, Barry Levine, by and through his counsel of record, John P. Atkins,
       Thompson Coburn LLP, 2100 Ross Avenue, Suite 600, Dallas, Texas 75201 and Alan
       E. Lubel, Law Office of Alan E. Lubel, 3475 Piedmont Road, Suite 1100, Atlanta,
       Georgia 30305


       Pursuant to Federal Rule of Civil Procedure 68 (“Rule 68”), Defendant American Mensa,

Ltd. (“Mensa”) hereby offers to allow judgment to be taken against it in this action for the sum of

Three Hundred Thousand Dollars and 00/100 ($300,000.00) (“the Settlement Amount”). The

aforementioned sum of the offer of judgment (“Offer”) supersedes and revokes any prior offers, if

any, and includes all damages and costs incurred as of the date of this offer for any and all causes

of action for which Plaintiff seeks recovery in this lawsuit including, but not limited to, reasonable
and necessary attorneys’ fees, interest (both pre-judgment and post-judgment), fees, court costs

and expenses. This offer is predicated on the following terms and conditions:

       1.      This amount is to be in full and final settlement of all Plaintiff’s claims against all

Released Parties (as defined below).

       2.      This Offer is made solely for the purposes stated in Rule 68, to avoid the expense,

inconvenience, and uncertainties of continued litigation and, if accepted, is the compromise of

doubtful and disputed claims, the liability for which, and the amount of damages for which, if any,

are uncertain and speculative. This Offer is neither intended to be, nor shall it be, construed as
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either an admission of liability by Defendant in this case, or as an admission Plaintiff has suffered

any damages.

       3.      By acceptance of this Offer, Plaintiff, on behalf of himself, his children, heirs,

executors, administrators, assigns and persons or entities with a derivative right through him

(collectively the “Releasing Parties”), release, remise, acquit, and forever discharge Mensa and its

present and former attorneys (including Thompson, Coe, Cousins & Irons, LLP), agents, members,

third party vendors, third party adjusters, employees, adjusters, insurers, reinsurers, successors,

assigns, officers, directors, shareholders, partners, trustees, representatives, parent, subsidiary and
affiliated companies or entities, (collectively referred to as the “Released Parties”; collectively, the

Releasing Parties and the Released Parties are referred to as “the Parties”) of and from any and all

claims, demands, actions, causes of action, suits, debts, contracts, agreements, promises, liabilities,

losses, costs, expenses and damages of any kind or character whatsoever (collectively “Claims”),

accrued or unaccrued, known or unknown, foreseen or unforeseen, in law or in equity, whether or

not asserted in this litigation, whether based on contract, tort, statute or otherwise, relating to any

matter or thing that has occurred or has failed to occur as of the date this Offer is accepted,

including but not limited to (a) all Claims made in this lawsuit, damages or equitable relief (e.g.,

specific performance), interest, liquidated damages, intentional torts, punitive damages, statutory

damages, attorney fees, costs, and litigation, or other expenses, and any and all other claims
resulting thereby; (b) all Claims related to this litigation and the facts and circumstances involved

in the litigation, including but not limited to any future claim related in any way to Mensa’s

expulsion of Plaintiff from its organization; (c) any actions, inaction, representations, omissions,

or commissions by the Released Parties before the date this Offer is accepted, and (d) any claim

that acceptance of this Offer was induced by any fraudulent or negligent act or omission or results

in or from any actual or constructive fraud, fraudulent inducement, negligent misrepresentation,
breach of fiduciary duty, breach of confidential relationship, or a breach of any other duty under

law or in equity. This release is intended to be a full and complete general release of all claims,

so to the extent Plaintiff may be deemed to still possess any viable claims or causes of action
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against the Released Parties, Plaintiff hereby assigns to Defendant Mensa all claims he has of any

kind against the Released Parties.

       4.      By acceptance of this Offer Plaintiff also warrants:

               a.     I have read all of the terms of this Offer, agree to them, and have relied upon

                      the advice and comment of their own attorney.

               b.     I am the only owner of the claims made in this lawsuit and have not assigned

                      any portion of my claims or rights to any person or entity. Alternatively, I

                      have the express consent and authority of the Releasing Parties to accept
                      this Offer. In this regard, Plaintiff agrees to indemnify and hold harmless

                      the Released Parties from any claim or expense incurred in defending any

                      claim (including attorney fees and costs), which may result from any claims

                      made by any other person or entity, claiming to have an interest in the

                      Settlement Amount.

               c.     Neither Plaintiff nor his attorneys are relying on the judgment or advice of

                      Defendant or its attorneys concerning the tax consequences, if any, of this

                      Offer. Plaintiff and his attorneys, and they alone, shall be responsible for

                      all federal, state, and local tax liability, if any, which may attach to the

                      Settlement Amount, and will indemnify and hold the Released Parties
                      harmless from, and will reimburse the Released Parties for, any and all such

                      tax liability of whatever kind incurred by the Released Parties, including,

                      but not limited to, taxes, levies, assessments, fines, interest, attorney fees

                      and costs.

               d.     This litigation is the only lawsuit Plaintiff has filed against the Released

                      Parties, and there are no pending complaints, administrative charges,
                      grievances, or other non-litigation proceedings Plaintiff has filed, instituted,

                      or caused to be instituted with or by any governmental agency against any

                      Released Party.
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                 e.     This Offer sets forth the entire consideration for this Offer, and all

                        agreements and understandings between the Parties are embodied and

                        expressed in this document. In this regard, the Parties expressly warrant

                        that no agent, servant, employee, attorney, representative, or any other

                        person representing or claiming to represent any other party has made any

                        representations, promises, or statements of any kind to them or their

                        representatives to induce them to accept this Offer, other than those

                        expressly contained in this Offer, and that any such reliance would be
                        unintended and unjustified.

       5.        Unless otherwise stated in this Offer, the judgment offered herein is to have no

effect except in settlement of Plaintiff’s claims against the Released Parties.

       6.        If the offer is accepted, payment of the Settlement Amount will be made within

thirty (30) days of the date of Plaintiff’s written acceptance of the Offer and shall be made payable

as follows:

              By check in the amount of $300,000.00 payable to “Barry Levine”

       7.        This Offer expires in accordance with the time limits set forth in Rule 68.

                                           Respectfully submitted,


                                           By: /s/ Alexander G. Blue
                                              James N. Isbell
                                              Attorney-in-Charge
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                                              1 Riverway, Suite 1400
                                              Houston, Texas 77056
                                              Telephone: (713) 403-8210
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                                            Facsimile: (713) 403-8299
                                            ATTORNEYS FOR DEFENDANT
                                            AMERICAN MENSA LTD.


                               CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing document has been sent to
all known counsel of record pursuant to the Rules of Civil Procedure on the 12th day of May.

                                            /s/ Alexander G. Blue___
                                            ALEXANDER G. BLUE
